          Case 2:21-cr-00293-SB Document 205 Filed 04/30/24 Page 1 of 2 Page ID #:2414

                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                        APR 30 2024
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           24-2746
       Originating Case Number: 2:21-cr-00293-SB-1
       Case Title:              United States of America v. Parviz

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
          Case 2:21-cr-00293-SB Document 205 Filed 04/30/24 Page 2 of 2 Page ID #:2415

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                        United States Court of Appeals for the Ninth Circuit
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                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-2746
        Originating Case Number: 2:21-cr-00293-SB-1
        Case Title:              United States of America v. Parviz



        Monday, June 10, 2024
        Mahsa Parviz                                          Appeal Opening Brief (No
                                                              Transcript Due)

        Tuesday, July 9, 2024
        United States of America                              Appeal Answering Brief (No
                                                              Transcript Due)


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
       hearings, the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
